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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                              :             CHAPTER 7
                                                    :
CARLTON RUFFIN,                                     :             CASE NO. 19-57751-JWC
                                                    :
         Debtor.                                    :
                                                    :


 MOTION FOR ORDER AUTHORIZING COMPROMISE AND SETTLEMENT WITH
         DEBTOR UNDER RULE 9019 OF THE FEDERAL RULES OF
                    BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Carlton Ruffin (“Debtor”), by and through the undersigned

counsel, and files his Motion for Order Authorizing Compromise and Settlement with Debtor

under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Settlement Motion”). In

support of the Settlement Motion, Trustee respectfully shows the Court as follows:

                                   Jurisdiction and Venue

         1.    This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                         Background

         2.    On May 17, 2019 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating




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Chapter 7 Case No. 19-57751-JWC) (the “Bankruptcy Case”).

        3.     Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

        4.     On the Petition Date, Debtor was the owner of record of that certain real property

with a common address of 1610 Neighborhood Walk, McDonough, Henry County, Georgia,

30252 (the “Property”).

        5.     Debtor’s interest in the Property (the “Interest”) is property of the Bankruptcy

Estate. See 11 U.S.C. §§ 348 and 541 (2019).

        6.     Trustee obtained a title examination report for the Property dated January 14,

2020 (the “Title Report”). The Title Report reflects the following interests in the Property: (a) a

Security Deed (the “Southeast Mortgage Deed”) dated January 31, 2017 and recorded on

February 7, 2017, securing a loan in the original principal amount of $126,818.00 in favor

Mortgage Electronic Registration Systems, Inc. as nominee for Southeast Mortgage of Georgia,

Inc. (“Southeast Mortgage”); and (b) a Subordinate Security Deed (the “HUD Deed”) dated

January 30, 2019 and recorded on February 14, 2019 securing a loan in the original principal

amount of $31,592.10 in favor of U. S. Secretary of Housing and Urban Development (“HUD”).

        7.     Upon information and belief, the loan from HUD secured through the HUD Deed

was used to pay down the loan secured through the Southeast Mortgage Deed.

        8.     On February 4, 2020, Trustee filed a complaint against HUD seeking, among

other things, to avoid any transfers (the “HUD Transfers”) arising out of the HUD Deed and

recover any Property interests (the “HUD Interests”) transferred through the HUD Transfers and

initiated the adversary proceeding styled as Hays v. U. S. Secretary of Housing and Urban

Development (Adv. Pro. No. 20-6030-JWC) (the “Adversary Proceeding”).



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        9.    On June 10, 2020, the Bankruptcy Court entered an order [Doc. No. 10; Adv. Pro.

No. 20-6030-JWC] and judgment [Doc. No. 11; Adv. Pro. No. 20-6030-JWC] in favor of Trustee

and against HUD avoiding the HUD Transfers and returning the HUD Interests to Trustee in

favor of the Bankruptcy Estate.

        10.   Rather than Trustee’s selling the Interest, which now includes the HUD Interests,

of the Bankruptcy Estate in the Property, Debtor would like to purchase the Interest from the

Bankruptcy Estate (the “Transfer Dispute”).

                                        The Settlement

        11.   Following negotiations, Trustee and Debtor (collectively, the “Parties”) have

reached an agreement to transfer the Interest to Debtor by Trustee’s abandoning it back to Debtor

following certain payments by Debtor. In this regard, the Parties have entered into a Settlement

Agreement (the “Settlement Agreement”). Trustee attaches a copy of the Settlement Agreement

as Exhibit “A” to this Settlement Motion. Significant terms of the Settlement Agreement are as

follows:1

                   a. Debtor shall pay a total of $31,000.00 (the “$31,000.00 Settlement
                      Funds”) in good funds to Trustee in exchange for Trustee’s abandoning
                      the Interest to Debtor in accordance with the following schedule (the
                      “Scheduled Payments”):

                          i. $1,100.00 for 28 months (the “$1,100.00 Payments”), on the 15th
                             day of each month, beginning on March 15, 2021; and

                         ii. $200.00 on the first day of the month following Debtor’s payment
                             of the last $1,100.00 Payment.

              b.      The Interest of the Bankruptcy Estate in and to the Property shall be
                      deemed abandoned upon the later of: (a) Trustee’s receipt in full of the


1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.


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                    $31,000.00 Settlement Funds from Debtor in good funds; or (b) the
                    Settlement Approval Order becoming final.

              c. Debtor shall insure the Property to protect the Bankruptcy Estate against
                 loss, whether casualty or personal liability, until the later of: (a) Trustee’s
                 receipt in full of the $31,000.00 Settlement Funds from Debtor; or (b) the
                 Settlement Approval Order becoming final.

              d. Debtor shall pay all ad valorem real property taxes that accrue against or
                 as a result of the Property until the later of: (a) Trustee’s receipt in full of
                 the $31,000.00 Settlement Funds from Debtor; or (b) the Settlement
                 Approval Order becoming final.

              e. Debtor shall pay all payments owed on any debt secured by an interest in
                 the Property (the “Mortgage Payments”) until the later of: (a) Trustee’s
                 receipt in full of the $31,000.00 Settlement Funds from Debtor; or (b) the
                 Settlement Approval Order becoming final.

              f. Debtor shall not grant or permit any future encumbrances against the
                 Property without Trustee’s express written permission and appropriate
                 authority from the Bankruptcy Court until the later of: (a) Trustee’s receipt
                 in full of the $31,000.00 Settlement Funds from Debtor; or (b) the
                 Settlement Approval Order becoming final.

              g. Debtor shall pay all maintenance and repair expenses that arise from or
                 that are related to the Property until the later of: (a) Trustee’s receipt in
                 full of the $31,000.00 Settlement Funds from Debtor; or (b) the Settlement
                 Approval Order becoming final.

              h. Within five (5) business days after receiving a written request from
                 Trustee, in accordance with Section 11 of the Settlement Agreement,
                 Debtor shall produce to Trustee proof of insurance on the Property or
                 proof of payment of his Mortgage Payments. In this regard, Debtor
                 represents and warrants to Trustee, that, as of the Effective Date of the
                 Settlement Agreement, the Property is insured and he is current on his
                 Mortgage Payments.

              i. The Parties stipulate and agree that Debtor shall not have a claim under
                 Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on
                 account of payment of the $31,000.00 Settlement Funds, or for any reason,
                 and that neither Debtor nor any of his affiliates, agents, principals, or
                 subsidiaries shall receive a distribution from the Bankruptcy Estate.

              j. Notwithstanding anything to the contrary in the Settlement Agreement,
                 Debtor may pay at any time the entire amount due under the Settlement
                 Agreement without incurring a pre-payment penalty.


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                  k. Effective upon the Settlement Approval Order becoming final, Debtor
                     shall waive any and all obligations that the Bankruptcy Estate may
                     otherwise have to pay to Debtor out of the $31,000.00 Settlement Funds
                     on account of exemptions asserted by or on behalf of Debtor, if any, in the
                     Property, the Interest, or the $31,000.00 Settlement Funds.

                  l. If Debtor fails to pay timely any of the Scheduled Payments as set forth in
                     Section 2.2 of the Settlement Agreement, Debtor shall be entitled to a
                     maximum of three (3), five (5) day cure periods following notice (the
                     “Default Notice”) by Trustee to Debtor, in which Trustee shall notify
                     Debtor that he has failed to make a Scheduled Payment and which notice
                     shall be given as set forth in Section 11 of the Settlement Agreement.
                     Following Debtor’s receipt, as set forth in Section 11 of the Settlement
                     Agreement, of his Default Notice, Debtor shall have five (5) calendar days
                     to cure the non-payment (the “5-Day Cure Opportunity”) of the
                     Scheduled Payment by delivering the Scheduled Payment to Trustee as set
                     forth in Section 2.2 of the Settlement Agreement.

                  m. If Debtor: (a) fails to cure timely an unpaid Scheduled Payment following
                     one of his three (3) 5-day Cure Opportunities, or (b) fails to pay timely a
                     Scheduled Payment after he has exhausted his three (3) 5-day Cure
                     Opportunities, then:

                          i. Trustee shall be entitled to retain for the benefit of the Bankruptcy
                             Estate any Scheduled Payments that Debtor has made to Trustee;
                             and

                         ii. Trustee shall be entitled to and Debtor shall consent to Trustee’s
                             selling the Property.

                                       Relief Requested

        12.   By this Settlement Motion, Trustee requests that the Court approve the Settlement

Agreement between the Parties.

                                        Basis for Relief

        13.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice


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Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

        (a) The probability of success in the litigation; (b) the difficulties, if any, to be
        encountered in the matter of collection; (c) the complexity of the litigation
        involved, and the expense, inconvenience and delay necessarily attending it; (d)
        the paramount interest of the creditors and a proper deference to their reasonable
        views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).

        14.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

        15.    The proposed settlement will allow Trustee to make a meaningful distribution to

the holders of timely filed general unsecured claims in this Bankruptcy Case and avoid the costs

and risks of marketing and selling the Property through a licensed real estate broker (and also

allow Debtor to keep their primary residence) and allow Trustee to avoid the costs and delay in

litigating with the Debtor the extent of the Interest of the Bankruptcy Estate in the Property.

        16.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.




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        WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate

the terms of the Settlement Agreement; and (iii) granting to the parties such other and further

relief as the Court deems just and appropriate.

        Respectfully submitted, this 15th day of March, 2021.

                                                        ARNALL GOLDEN GREGORY LLP
                                                        Attorneys for Trustee

                                                        By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                              Michael J. Bargar
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                             EXHIBIT “A” FOLLOWS




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                                 CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Compromise and
Settlement with under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first class
United States mail on the following entities at the addresses stated:

Office of the United States Trustee
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Carlton Ruffin
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        This 15th day of March, 2021.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




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